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 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF NEW YORK
 _______________________________________________

 CURTIS BROWN,

                                       Plaintiff,

                       v.                                                    5:01-CV-1523
                                                                               (FJS/DEP)
 CITY OF SYRACUSE; JOHN FALGE,
 individually; GARY MIGUEL, in his
 official capacity as Chief of Police of the
 Syracuse Police Department; and JOHN
 DOE, intended to indicate an individual
 unknown at this time,

                               Defendants.
 _______________________________________________

 APPEARANCES                                          OF COUNSEL

 BOSMAN LAW OFFICE                                    A. J. BOSMAN, ESQ.
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 Rome, New York 13440
 Attorneys for Plaintiff

 CITY OF SYRACUSE                                     JOSEPH FRANCIS BERGH, ESQ.
 CORPORATION COUNSEL
 City Hall, Room 301
 233 East Washington Street
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 Attorneys for Defendants

 SCULLIN, Senior Judge


                            MEMORANDUM-DECISION AND ORDER

                                       I. INTRODUCTION

        Plaintiff, a former Syracuse Police Department ("SPD") officer was suspended without

 pay on July 5, 2000, following the entry of his plea of guilty to one count of Endangering the
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 Welfare of a Child ("Endangering"), a class A misdemeanor, in Dewitt Town Court, County of

 Onondaga, State of New York, on June 20, 2000. The internal affairs section of the SPD

 conducted an investigation of Plaintiff. Plaintiff was officially terminated from the SPD on

 December 7, 2005, after an SPD internal affairs investigation and an arbitrator found just cause

 to terminate Plaintiff.

         On October 9, 2001, Plaintiff filed the instant action asserting claims of racial

 discrimination under 42 U.S.C. §§ 1981, 1983, 1985 and Title VII, as well as First Amendment

 retaliation and procedural due process claims under 42 U.S.C. § 1983. Plaintiff also asserted

 claims pursuant to New York Human Rights Law and various common law claims.



                                          II. BACKGROUND

         Following a motion to dismiss by Defendants, on July 25, 2002, this Court dismissed

 several of Plaintiff's claims.1 On June 8, 2005, this Court granted Defendant2 summary judgment

 on the remaining claims.3 The Court also denied Plaintiff's Rule 56(f) motion for additional


         1
          Specifically, the Court dismissed the following claims: Plaintiff's Title VII claim against
 Defendant Falge, see Dkt. No. 19, Memorandum-Decision and Order at 2; Plaintiff's § 1983
 claim against Defendant Duval in his official capacity as redundant, see id. at 4 n. 3; Plaintiff's
 § 1983 claim against the City of Syracuse for failure to allege a custom or policy of the City of
 Syracuse under which Defendants acted, see id. at 5; Plaintiff's § 1983 claim against Defendant
 Falge for failure to allege personal involvement of a supervisory official, see id. at 6; Plaintiff's
 § 1985(3) claim under the intracorporate conspiracy doctrine, see id. at 9; and Plaintiff's common
 law claims on the ground that they were barred by the statute of limitations, see id. at 12.
         2
             At the time of this Order, only Defendant City of Syracuse remained in the case.
         3
          Specifically, the Court granted summary judgment on the following claims: Plaintiff's
 Title VII claim finding no prima facie disparate treatment claim due to a failure to identify a
 similarly-situated police officer whom Defendant treated differently and Plaintiff's § 1981 claim,
                                                                                        (continued...)

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 discovery. See Dkt. No. 114, Memorandum-Decision and Order at 3, 8-9. On August 17, 2005,

 this Court reconsidered and again denied Plaintiff's Rule 56(f) motion for additional discovery

 and declined to reconsider the Court's decision as to whether there were similarly-situated

 officers whom Defendant treated differently. See Dkt. No. 118, Memorandum-Decision and

 Order at 5-6.

        On appeal, the Second Circuit affirmed the dismissal of Plaintiff's § 1985(3) claims as

 waived on appeal. See id. at 2. The Circuit reversed the dismissal of the § 1983 claims finding

 Plaintiff had sufficiently pled a First Amendment and Equal Protection claim under a designated

 practice or official policy.4 The Circuit reversed and remanded the Title VII and § 1981 claims

 and also reversed this Court's denial of the Rule 56(f) motion.5 On July 26, 2006, the Second

 Circuit vacated and remanded this Court's judgment. See Dkt. No. 127, Summary Order and

 Mandate at 4.6




        3
          (...continued)
 as well, for failure to identify any similarly-situated officers. See Dkt. No. 114, Memorandum-
 Decision and Order at 8-9. This Court declined to exercise supplemental jurisdiction over
 Plaintiff's New York Human Rights Law ("NYHRL") claim. See id. at 3, 9.
        4
        The Circuit Court determined that, based on Second Department case law, the crime of
 Endangering is not an "oath of office" offense.
        5
           The Circuit Court did not discuss Plaintiff's common law claims, other than mentioning
 that this Court dismissed them with prejudice, or Plaintiff's New York Human Rights law claims,
 other than mentioning that this Court granted summary judgment to Defendant.
        6
            The Circuit Court issued its mandate on August 24, 2006.

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                                          III. DISCUSSION

 A.     Preliminary matters

        Although the Second Circuit reversed this Court's dismissal of Plaintiff's § 1983 claims, it

 did not address this Court's dismissal of Defendant Duval in his official capacity as redundant.

 See Dkt. No. 19 at 4 n. 4 (citing Wallikas v. Harder, 67 F. Supp. 2d 82, 83 (N.D.N.Y. 1999)).

 Under Wallikas, Plaintiff's claims against Defendant Miguel are redundant as Defendant Miguel

 is only sued in his official capacity; Plaintiff sued the municipality – the City of Syracuse (the

 "City") – and the City had notice and responded to Plaintiff's claims. Accordingly, the Court

 dismisses all claims against Defendant Miguel.

        As this Court noted in its July 25, 2002 Order, Plaintiff's Title VII claim applies only to

 the City because it is well-established that a plaintiff cannot maintain a Title VII claim against an

 individual; and, therefore, as a matter of law, Plaintiff cannot maintain his Title VII claim against

 Defendant Falge. See Wrighten v. Glowski, 232 F.3d 119, 120 (2d Cir. 2000) (per curiam)

 (citation omitted); Allen v. Comprehensive Analytical Group, Inc., 140 F. Supp. 2d 229, 232-33

 (N.D.N.Y. 2001) (citations omitted). Accordingly, the Court dismisses Plaintiff's Title VII claim

 against Defendant Falge.

        The Second Circuit did not address Plaintiff's state common law claims. The Court finds

 that they are still barred by the statute of limitations. See Dkt. No. 19 at 12.

        As a result of the Second Circuit's mandate and these rulings, Plaintiff retains the

 following claims: (1) a Title VII claim against Defendant City; (2) a NYHRL claim against

 Defendants City and Falge; (3) a § 1981 claim against Defendants City and Falge; (4) and




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 § 1983 claims against Defendants City and Falge.7



 B.     Plaintiff's Title VII claim against Defendant City

        The burden shifting analysis of McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973),

 applies to Plaintiff's Title VII claim; a Plaintiff must first make out a prima facie case of

 discrimination, the employer must then articulate a legitimate non-discriminatory reason for the

 termination of employment, and then the plaintiff has the burden to prove that discrimination was

 the reason for the employment action. See Graham v. Long Island R.R., 230 F.3d 34, 38 (2d Cir.

 2000) (citations omitted).

        Defendants do not contend that Plaintiff has not made out a prima facie case. Defendants

 however, have also articulated a non-discriminatory reason for Plaintiff's termination, his

 misdemeanor conviction for endangering the welfare of a child. Plaintiff claims that such non-

 discriminatory reason is a pretext and maintains that Defendants treated similarly-situated

 individuals outside the protected class differently. See Texas Dep't of Cmty. Affairs v. Burdine,

 450 U.S. 248, 255, 258 (1981) (citations omitted).

        The Second Circuit, relying on the factual premise that at least one other person

 employed by the SPD was not terminated after being convicted of a misdemeanor of DWI, found

 "genuine issues of material fact regarding whether [Plaintiff] was similarly situated to other


        7
           Defendants moved for summary judgment on an equal protection claim, a procedural
 due process claim related to the loss of Plaintiff's job, a procedural due process claim related to a
 liberty interest, and First Amendment retaliation. In his response, Plaintiff only addressed the
 First Amendment retaliation claim directly and the equal protection claim in the context of
 qualified immunity. Since the procedural due process claims appear in the complaint, the Court
 will address Defendants' motion for summary judgment regarding these claims even though
 Plaintiff did not oppose this part of Defendants' motion.

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 employees." See Dkt. No. 127 at 4.

        Defendants now argue that the factual predicate on which the Second Circuit relied, i.e.,

 the DWI conviction, was an error in that the officer was convicted of a traffic violation and not a

 misdemeanor. A review of the evidence upon which this Court relied appears to show an arrest

 and charge of a violation of N.Y. Veh. & Traf. Law § 1192.3 (misdemeanor - DWI) but a

 reduction to a disposition of a fine and fee for a violation of N.Y. Veh. & Traf. Law

 § 1192.1 (traffic infraction - DWAI). See N.Y. Veh. & Traf. Law § 1193(1); see also Dkt. No.

 94, Exhibit H at 3-5; Dkt. No. 113 at 7.8 Therefore, it appears that the Second Circuit's finding as

 to the issue of fact was based on this Court's erroneous interpretation of the facts in the record.

 However, because it is not clear whether the Second Circuit's mandate permits this Court to

 reconsider this issue, the Court will interpret the Second Circuit's decision as the law of the case.9

 See United States v. Tenzer, 213 F.3d 34, 40 (2d Cir. 2000) (finding the district court correctly

 found that it was bound to follow a prior appellate decision even though the district court

 believed new evidence supported disagreement with the decision).10

        The mandate rule "'compels compliance on remand with the dictates of the superior court



        8
         Ironically, Plaintiff did not even argue that this officer was an example of disparate
 treatment. Plaintiff, in his discussion of other officers convicted of misdemeanors or felonies,
 conspicuously omits this officer, relying instead on another officer, who is African-American and
 would therefore not support his disparate treatment argument.
        9
          The Court notes that Defendants could have avoided this situation by raising this Court's
 factual error earlier, either before this Court on a motion for reconsideration or on appeal to the
 Second Circuit.
        10
            The Second Circuit noted in Tenzer that an appellate court is not bound by the same
 rigidity as the district court and could reconsider its holding based on new evidence. See Tenzer,
 213 F.3d at 40.

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 and forecloses relitigation of issues expressly or impliedly decided by the appellate court.'"

 Lucente v. Int'l Bus. Machs. Corp., 262 F. Supp. 2d 109, 112 (S.D.N.Y. 2003) (quoting [United

 States v. Ben Zvi, 242 F.3d 89, 95 (2d Cir. 2001)] (quoting United States v. Bell, 5 F.3d 64, 66

 (4th Cir. 1993))). A district court may not change the law of the case as established by the court

 of appeals on the basis of new evidence unless authorized to do so by the terms of the remand.

 See United States v. Fernandez, 506 F.2d 1200, 1202-03 (2d Cir. 1974). Therefore the Court

 denies Defendants' motion for summary judgment on Plaintiff's Title VII claim.11



 C.     Plaintiff's NYHRL, § 1981 and § 1983 equal protection claims

        Plaintiff asserts several other claims premised on the same allegations and disparate

 treatment as his Title VII claim: his NYHRL claim;12 his § 1981 claim; and his § 1983 equal

 protection claim. Since the Court is obligated to follow the mandate as to there being a genuine

 issue of material fact as to whether Defendants discriminated against Plaintiff based on disparate

 treatment of similarly-situated employees, these causes of action must survive summary

 judgment as well. See Van Zant v. KLM Royal Dutch Airlines, 80 F.3d 708, 714-15 & n.6 (2d

 Cir. 1996) (finding standard of proof for NYHRL discrimination claims is the same as the

 standard of proof for Title VII claims); Patterson v. County of Oneida, 375 F.3d 206, 225-27 (2d



        11
           As the Court finds that the Second Circuit's mandate dictates that there is a genuine
 issue of material fact for trial on the similarly-situated employees issue, the Court need not
 address Plaintiff's remaining arguments as to how Defendants treated similarly-situated
 employees differently or why Defendants' legitimate non-discriminatory reason is not worthy of
 credence.
        12
         Since Plaintiff's Title VII claim survives summary judgment, the Court will exercise
 supplemental jurisdiction over his NYHRL claim. See 28 U.S.C. § 1367(a).

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 Cir. 2004) (noting that the core substantive standards for a Title VII claim apply to a § 1981

 employment discrimination claim and an equal protection claim under § 1983 except for the

 following differences: (1) statutes of limitations; (2) municipal liability; (3) individual liability;

 and (4) §§ 1981 and 1983 require a showing of intentional discrimination whereas Title VII

 liability may be premised upon negligence).13



 D.      Plaintiff's § 1983 First Amendment retaliation claim against Defendants City and
         Falge

         A public employee asserting a First Amendment retaliation claim under § 1983 must

 show that "(1) h[is] speech was constitutionally protected, as a result of which (2) []he suffered

 an adverse employment decision, and (3) a causal connection existed between the speech and the

 adverse employment decision, so that it can be said that h[is] speech was the motivating factor in

 the determination." Gronowski v. Spencer, 424 F.3d 285, 292 (2d Cir. 2005) (citations omitted).

 In his memorandum of law, Plaintiff clarified that his alleged protected speech consisted of the

 filing of a complaint with the EEOC and the NYSDHR and that the adverse action was the five-

 year length of Plaintiff's arbitration termination proceeding and Defendants' failure to settle or

 compromise with Plaintiff. See Plaintiff's Memorandum of Law at 18.

         The Second Circuit has permitted a First Amendment retaliation claim based on the filing

 of discrimination complaints. See Washington v. County of Rockland, 373 F.3d 310, 320 (2d Cir.

 2004). Complaints regarding the alleged discrimination against African-American officers is a

 matter of public concern worthy of First Amendment protection. See id.


         13
          Municipal liability is discussed infra, and the parties did not raise the issue of
 individual liability.

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        Adverse employment actions generally include "discharge, refusal to hire, refusal to

 promote, demotion, reduction in pay, and reprimand" but may also include lesser actions such as

 negative evaluations, accusations of misconduct, assignment to certain duties, and failure to

 process forms. Morris v. Lindau, 196 F.3d 102, 110 (2d Cir. 1999) (citation omitted). An

 adverse employment decision is one that "'would deter a similarly situated individual of ordinary

 firmness from exercising his . . . [constitutional] rights.'" Washington, 373 F.3d at 320

 (quotation omitted). Defendants presented evidence in the form of arbitration transcripts that

 Plaintiff and his union caused the delay in the arbitration. Plaintiff offered no evidence that

 Defendants' actions caused the delay other than citing the length of the arbitration. Accordingly,

 the Court finds that the length of the arbitration cannot be considered an adverse employment

 action because Defendants' actions did not cause the delay.

        The only remaining alleged adverse action is a refusal to settle the arbitration. Plaintiff

 bases this argument on a letter from Defendant City's Office of Corporation Counsel to Rocco A.

 DePerno, Esq., which mentions Plaintiff's filing with the NYSDHR and withdraws any and all

 offers of settlement for the pending arbitration. The letter also expresses a desire to re-schedule

 the arbitration hearing.

        To support his claim that this letter is evidence of retaliation, Plaintiff cites cases that

 stand for the proposition that a union or employer cannot refuse to proceed in an arbitration

 pursuant to a grievance procedure when the employee files an independent action, e.g., a Title

 VII claim, to pursue his rights. See, e.g., Johnson v. Palma, 931 F.2d 203, 208-09 (2d Cir. 1991).

 These cases are not dispositive, however, because Plaintiff did not, and cannot, claim that

 Defendants refused to participate in the arbitration. As noted above, Defendants presented


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 evidence that Plaintiff and his union caused the delay in the arbitration and Defendant City tried

 to proceed. Furthermore, the letter that Plaintiff cites, although indicating that Defendant City

 was withdrawing offers of settlement, expresses a desire to contact the arbitrator to re-schedule

 the arbitration hearing. This hardly evidences a failure to allow Plaintiff to arbitrate his

 termination.

          The Court finds that Defendant City exercised a legal right to refuse to settle a claim and

 that withdrawing arbitration settlement offers cannot be an adverse employment decision, as a

 contrary finding would force the settlement of such arbitrations. Accordingly, the Court

 concludes that Plaintiff has failed to present a genuine issue of material fact as to whether he

 suffered an adverse employment action sufficient to survive summary judgment on his First

 Amendment retaliation claim; therefore, the Court grants Defendants summary judgment on this

 claim.



 E.       Plaintiff's § 1983 procedural due process claim against Defendants City and Falge

          Plaintiff did not oppose the dismissal of his Fifth Amendment procedural due process

 claims. However, the Court must still determine if Defendants are entitled to summary judgment

 on these claims. See Fed. R. Civ. P. 56(e)(2). To show a violation of procedural due process

 rights, a plaintiff must show that "he possessed a property or liberty interest and [then determine]

 what process he was due before he could be deprived of that interest." Ciambriello v. County of

 Nassau, 292 F.3d 307, 313 (2d Cir. 2002) (citation omitted).

          To support a liberty-interest claim, a plaintiff must "allege (1) the utterance of a statement

 about h[im] that is injurious to h[is] reputation, 'that is capable of being proved false, and that he


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 . . . claims is false' and (2) 'some tangible and material state-imposed burden . . . in addition to

 the stigmatizing statement.'" Velez v. Levy, 401 F.3d 75, 87 (2d Cir. 2005) (quotation omitted).

 Plaintiff has not presented any evidence to support the utterance of a statement about him that is

 injurious to his reputation, and he may not rely on his allegations in his pleadings regarding

 alleged statements that he is a sexual abuser of minors. See Fed. R. Civ. P. 56(e)(2).

 Accordingly, the Court finds that Defendants are entitled to summary judgment on Plaintiff's

 liberty-interest claim.

         The Second Circuit found that Plaintiff had not lost his property interest as a public

 employee by virtue of an oath-of-office offense. A public employee is entitled to a hearing prior

 to being terminated. See Ciambriello, 292 F.3d at 319 (citing [Cleveland Bd. of Educ. v.]

 Loudermill, 470 U.S. [532,] 542, 105 S. Ct. 1487 [(1985)]). Defendants presented evidence that

 Plaintiff received a pre-termination hearing as well as an arbitration prior to being officially

 terminated. Plaintiff did not dispute Defendants' assertions. Accordingly, the Court finds that

 Plaintiff received the process that he was due and that Defendants are entitled to summary

 judgment on Plaintiff's property-interest claim.



 F.      Municipal liability of Defendant City

         "[A] single action by a decision-maker who 'possesses final authority to establish

 municipal policy with respect to the action ordered' . . . is sufficient to implicate the municipality

 in the constitutional deprivation for the purposes of § 1983." Amnesty Am. v. Town of West

 Hartford, 361 F.3d 113, 126 (2d Cir. 2004) (quoting [Pembaur v. City of Cincinnati, 475 U.S.

 469, 481-82 (1986)]) (denying motion to dismiss on the grounds of municipal liability because


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 the town conceded that the police chief has final policymaking authority with respect to actions

 of the police) (Connecticut case). The actions of an official, who has final authority over matters

 involving the exercise of discretion, constitute municipal policy; final authority exists where the

 official's decisions, at the time they are made, constitute the municipality's final decisions. See

 Rookard v. Health & Hosps. Corp., 710 F.2d 41, 45 (2d Cir. 1983) (finding liability where

 individual actors had authority to order employee's discharge and their authority over personnel

 decisions was final); see also McKinley v. City of Eloy, 705 F.2d 1110, 1116-17 (9th Cir. 1983)

 (finding municipality liable where testimony that the City delegated ultimate responsibility for

 personnel decisions to city manager without the need for review by the city counsel, who

 unconstitutionally fired the plaintiff, demonstrated that the personnel decisions of the city

 manager were final policy-making decisions).

        Defendant Falge, as chief of police, appears to exercise final discretionary authority in

 handing out internal discipline, including the termination of Plaintiff's employment. Defendants

 have not presented any evidence that Defendant Falge did not have the final policy-making

 authority with regard to these issues. Accordingly, the Court also finds that Defendant City is not

 entitled to summary judgment for lack of municipal policy on this alternative ground.



 G.     Qualified immunity of Defendant Falge

        A defendant is entitled to qualified immunity if his actions did not violate clearly

 established law or if it was objectively reasonable for him to believe his actions were legal. See

 Ford v. Moore, 237 F.3d 156, 162 (2d Cir. 2001). To obtain summary judgment on the ground

 of qualified immunity, a defendant "must show that no reasonable jury, viewing the evidence in


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 the light most favorable to the Plaintiff, could conclude that the defendant's actions were

 objectively unreasonable in light of clearly established law;" actions are "objectively reasonable

 if 'officers of reasonable competence could disagree on the legality of the defendants' actions.'"

 Id. (quotations omitted). As noted above, there are genuine issues of material fact as to whether

 Defendant Falge intentionally discriminated against Plaintiff on the basis of his race and treated

 him differently than similarly-situated individuals of another race. There can be no doubt that at

 all relevant times discriminatory termination on the basis of race, if proven, was objectively

 unreasonable in light of clearly established law. Accordingly, the Court finds that Defendant

 Falge is not entitled to summary judgment on the ground of qualified immunity.



                                        IV. CONCLUSION

        After carefully considering the entire file in this matter, the parties' submissions and the

 applicable law, and for the reasons stated herein, the Court hereby

        ORDERS that Defendants' motion for summary judgment is GRANTED in part and

 DENIED in part; and the Court further

        ORDERS that all claims against Defendant Miguel in his official capacity are

 DISMISSED; and the Court further

        ORDERS that Plaintiff's state common law claims against all Defendants are

 DISMISSED; and the Court further

        ORDERS that Plaintiff's Title VII claim against Defendant Falge is DISMISSED; and

 the Court further

        ORDERS that Plaintiff's § 1983 First Amendment retaliation claims against all

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 Defendants are DISMISSED; and the Court further

         ORDERS that Plaintiff's § 1983 procedural due process claims against all Defendants are

 DISMISSED; and the Court further

         ORDERS that Defendants' motion for summary judgment is otherwise DENIED; and the

 Court further

         ORDERS that Plaintiff's counsel shall initiate a telephone conference, using a

 professional conferencing service, with the Court and opposing counsel on January 13, 2009, at

 9:30 a.m. to set a trial date.



 IT IS SO ORDERED.


 Dated: December 31, 2008
        Syracuse, New York




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